HN012


                        UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF HAWAII

                                                 Case No. 10−02786

                                                     Chapter 13

In re:

   Liane Nancy Wilson
   21 Hakui Lp
   Lahaina, HI 96761

Social Security No.:
   xxx−xx−7266

Employer's Tax I.D. No.:



                                   NOTICE OF DISMISSAL OF CASE


Please take notice that on December 16, 2010 the court entered an order dismissing this bankruptcy case.

The original order is on file in the Clerk's Office of the court and can be accessed on the Internet using PACER for a
fee. Information on the PACER system can be found on the court's web page:www.hib.uscourts.gov

Dated: December 16, 2010                                    FOR THE COURT

Address of the Bankruptcy Clerk's Office:                   Clerk of the Bankruptcy Court:
1132 Bishop Street
Suite 250                                                   Michael B. Dowling
Honolulu, HI 96813

Telephone number: (808) 522−8100




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